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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             WICHITA FALLS DIVISION

 FRANCISCAN ALLIANCE, INC. et al.,             §
                                               §
 Plaintiffs,                                   §
                                               §
 v.                                            §    Civil Action No. 7:16-cv-00108-O
                                               §
 ALEX M. AZAR II, Secretary of the             §
 United States Department of Health and        §
 Human Services; and UNITED STATES             §
 DEPARTMENT OF HEALTH AND                      §
 HUMAN SERVICES,                               §
                                               §
 Defendants.                                   §

                                           ORDER

       Before the Court are Putative Intervenors American Civil Liberties Union of Texas and

River City Gender Alliance’s (collectively, “Putative Intervenors”) Motion to Intervene, Brief in

Support, and Appendix in Support (ECF Nos. 129–31), filed February 1, 2019; Plaintiffs’ and

Defendants’ Responses (ECF Nos. 140, 141), filed February 25, 2019; and Putative Intervenors’

Reply (ECF No. 144), filed March 11, 2019. The Court sets this matter for a hearing on Monday,

September 16, 2019, at 10:00 a.m. in the Second Floor Courtroom of the Eldon B. Mahon United

States Courthouse, located at 501 W. 10th Street, Fort Worth, Texas.

       Counsel for all parties are ORDERED to attend.

       SO ORDERED on this 10th day of September, 2019.



                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
